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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

                                                                   Order Filed on July 20, 2023
 KLESTADT WINTERS JURELLER                                         by Clerk
                                                                   U.S. Bankruptcy Court
 SOUTHARD & STEVENS, LLP                                           District of New Jersey
 200 West 41st Street, 17th Floor
 New York, New York 10036
 Telephone: (212) 972-3000
 Facsimile: (212) 972-2245
 Ian R. Winters
 Brendan M. Scott
 Stephanie R. Sweeney

 Counsel to Dream on Me Industries, Inc.
 In re:
                                                           Chapter 11
 BED BATH & BEYOND INC., et al.,
                                                           Case No. 23-13359 (VFP)
                                Debtors.
                                                           Judge: Vincent F. Papalia

                         ORDER FOR ADMISSION PRO HAC VICE

          The relief set forth on the following page is ORDERED.




  DATED: July 20, 2023
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         This matter having been brought before the Court on application for an Order For
  Admission Pro Hac Vice; and the Court having reviewed the moving papers of the applicant,
  out-of-state attorney, and considered this matter pursuant to Fed.R.Civ.Proc.78, D.N.J.
  L.Civ.R.101.1 and D.N.J. LBR 9010-1, and good cause having been shown; it is

         ORDERED that Ian R. Winters be permitted to appear pro hac vice; provided that
  pursuant to D.N.J. L.Civ. R. 101.1(c)(4), an appearance as counsel of record shall be filed
  promptly by a member of the bar of this Court upon whom all notices, orders and pleadings
  may be served, and who shall promptly notify the out-of-state attorney of their
  receipt. Only an attorney at law of this Court may file papers, enter appearances for parties,
  sign stipulations, or sign and receive payments on judgments, decrees or orders, and it is further

         ORDERED that the applicant shall arrange with the New Jersey Lawyers' Fund for
  Client Protection for payment of the annual fee, for this year and for any year in which the out-
  of-state attorney continues to represent a client in a matter pending in this Court in accordance
  with New Jersey Court Rule 1:28-2 and D.N.J. L. Civ. R. 101.1, said fee to be deposited within
  twenty (20) days of the date of the entry of this Order, and it is further

         ORDERED that the $150.00 fee required by D.N.J. L. Civ. R. 101(c)(3) for pro hac vice
  admission to the District Court for the District of New Jersey shall also be payable within
  twenty (20) days of entry of this Order. Payment in the form of a check must be payable to
  "Clerk, USDC" and forwarded to the Clerk of the United States District Court for the District of
  New Jersey at the following address:
                                    United States District Court
                                      District of New Jersey
                              Martin Luther King, Jr. Federal Building
                                         50 Walnut Street
                                       Newark, N.J. 07102
                               Attention: Pro Hac Vice Admissions

         and it is further ORDERED that the applicant shall be bound by the Local Rules of the
  United States District Court for the District of New Jersey and the Local Rules of Bankruptcy
  Procedure for the District of New Jersey; and it is further




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        ORDERED that the Clerk shall forward a copy of this Order to the Treasurer of New

 Jersey Lawyers' Fund for Client Protection within 5 days of its date of entry.




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